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                                                                                                         Court Plaza North
                                                                                                          25 Main Street
                                                                                                           P.O. Box 800
                                                                                                    Hackensack, NJ 07602-0800
                                                                                                201-489-3000 201-489-1536 fax
                                                                                                                 —
                                                                                                             New York
                                                                                                                 —
  Michael D. Sirota                                                                                          Delaware
  Member                                                                                                         —
  Admitted in NJ and NY
                                                                                                             Maryland
                                                                                                                 —
  Reply to New Jersey Office                                                                                   Texas
  Writer’s Direct Line: 201.525.6262                                                                             —
  Writer’s Direct Fax: 201.678.6262
  Writer’s E-Mail: msirota@coleschotz.com                                                                     Florida



                                                      July 16, 2023

 Via CM/ECF Filing

 Honorable Vincent F. Papalia, U.S.B.J.
 United States Bankruptcy Court for the District
 of New Jersey
 Martin Luther King Federal Building
 50 Walnut Street
 Newark, NJ 07102

             Re:          In re Bed Bath & Beyond, Inc., et al.
                          Case No. 23-13359 (VFP)
                          Objection to Motion to Confirm Absence of Stay [Docket No. 495]

 Dear Judge Papalia:

        As Your Honor is aware, we are co-counsel to the above-referenced debtors and debtors-
 in-possession (the “Debtors”). Please accept this letter in lieu of a more formal objection to the
 Motion to Confirm Absence of Stay [Docket No. 495] (the “Motion”).1

                                                      OBJECTION

         The Debtors’ lease with Telegraph Partners (attached to the Motion as Exhibit “A” and
 hereafter, the “Lease”) is a valuable one, with the Debtors’ real estate advisors A&G Realty
             1
            We recognize opposition to the Motion was due on July 11, 2023. Prior to that time, the Debtors were
 engaged in discussions with counsel for the landlord, Telegraph Marketplace Partners II, LLC (“Telegraph Partners”
 or the “Landlord”) and were advised that the Landlord would provide a proposal as early as July 7, 2023 that would
 potentially resolve the Motion. When that proposal had not arrived, the Debtors followed up, seeking an extension of
 the objection deadline (as the Debtors had sought to avoid the cost of an objection if the matter was to be resolved).
 While as late as July 11, 2023, the landlord’s counsel reiterated its intent to provide that proposal, it never arrived and
 the Debtors’ efforts to understand the status (and their request for a further extension pending receipt of the proposal)
 have since gone unanswered. Accordingly, the Debtors request Your Honor’s indulgence to accept this objection after
 the original deadline. Alternatively, given that there are factual disputes (as highlighted in part below) we ask that
 Your Honor treat the hearing date on July 18, 2023 as a preliminary hearing and set a briefing and discovery schedule
 with respect to the Motion. The Debtors submit there is no prejudice to the Landlord since the same issues were raised
 in the Objection to Assignment of Telegraph Marketplace Partners II, LLC’s to Burlington Coat Factory Warehouse
 Corporation, and Objection to Cure Amounts [Response to Docket No. 1157] [Docket No. 1293] and will be addressed
 in the Debtors’ omnibus reply, which will be filed in accordance with the Court’s approval, on July 17, 2023, at
 4:00 p.m.


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 estimating its likely value in the hundreds of thousands of dollars, and Burlington Coat Factory
 Warehouse Corporation (“Burlington”) recently including it within a recent package of 44 leases
 it seeks to have assumed and assigned to it for $12 million. The Landlord is no doubt keenly aware
 that the Lease and its remaining options render it below market and that it has substantial value to
 whoever owns that interest.

         With that in mind, in the days leading up to bankruptcy, the Landlord pounced upon the
 purported non-payment of a CAM reconciliation bill for approximately $5,000, while all other
 Rent (as defined in the Lease) was being paid, to issue a Notice of Default under the Lease (Exhibit
 “C” to the Motion). In accordance with the terms of the Lease, and as acknowledged by the
 Landlord both in the Notice of Default and the Motion, the Debtors had right to cure the alleged
 default set out in the Notice of Default (assuming the Notice of Default was valid, which the
 Debtors dispute).

         In that regard, and again assuming the Notice of Default was proper, which is disputed,
 immediately upon receipt of the Notice of Default, and prior to when cure periods under the Lease
 would have expired, the Debtors’ representatives reached out to the Landlord to obtain information
 relative to the alleged CAM reconciliation to confirm the amount was, in fact, due – a right the
 Debtors had under the Lease and a fact conveniently omitted from the Motion and supporting
 declaration, implying that the Debtors simply ignored the Notice of Default. Copies of emails
 relative to the Debtors’ efforts to audit and confirm the billed CAM reconciliation are attached
 hereto as Exhibit A. As set forth on Exhibit A, Eileen Higgins, the person who submitted the
 Declaration in support of the Motion is the same person who was communicating with the Debtors’
 representatives on the requested information during the cure period.

         Despite the ongoing efforts during the cure period to obtain the necessary information to
 audit and confirm the CAM reconciliation, and the Landlord understanding the Debtors were still
 in the process of auditing the information provided by the Landlord during the cure period, the
 Landlord then issued a Notice of Termination (Exhibit “D” to the Motion) on March 31, 2023, for
 the alleged $5,205.97 delinquency. At the time of the Notice of Termination all other Rent due
 under the Lease, including Fixed Rent for each of January, February and March, 2023 had
 been timely paid. The Notice of Termination reflected that the termination was effective on
 April 6, 2023, and demanded the surrender of the Premises on or before April 6, 2023.

         On April 6, 2023, the Debtors paid the CAM reconciliation amount demanded, along with
 the Fixed Rent for April 2023, via ACH. On April 12, 2023, the Landlord sent a “FIVE DAY
 NOTICE TO VACATE PREMISES, or, in the alternative, FIFTEEN DAY NOTICE TO
 VACATE PREMISES” to the Debtors (Exhibit “E” to the Motion). In that communication, the
 Landlord acknowledged receipt of the payments made electronically on April 6, 2023, and that it
 would be retaining the funds notwithstanding the purported termination of the Lease. In that
 regard, the letter noted as follows:

                   Landlord received an electronic transfer of funds from Tenant after
                   delivering the Notice of Termination of Lease to Tenant. Be advised
                   that Landlord will maintain all such funds for Tenant’s account until
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                   Tenant relinquishes possession of the Premises to Landlord as
                   required, and will then conduct a full accounting of such funds. In
                   the event Landlord is required to institute legal action against Tenant
                   to obtain such possession, Landlord will pay such funds into court
                   in connection with such action for disposition by the court in
                   accordance with Utah law and the terms of the Lease.

        Then, on April 13, 2023, after perhaps recognizing that the Landlord’s claimed termination
 might conflict with its stated intent to retain the Rent payments made in April 2023, the Landlord
 mailed a check to the Debtors refunding the Rent paid for the period April 7, 2023 through
 April 30, 2023 (i.e., the date it claims its Notice of Termination became effective). Notably, the
 Landlord did retain a portion of the amounts paid, including the amount advanced on the CAM
 reconciliation (as well as that amount which related to the time period April 1 through April 6,
 2023). The Landlord did not attach the April 13, 2023 correspondence to its Motion or the
 supporting Higgins Declaration. A copy of that letter and the check returning the sums described
 above is hereto as Exhibit B.

         Even after the flurry of correspondence from the Landlord attempting to terminate the
 Lease and obtain possession of the Premises, the Landlord recognized that it was still required to
 commence an unlawful detainer action against the Debtor-tenant and that a state court would be
 required to determine that the Debtor-tenant was in unlawful detainer. See Exhibit E to the Motion
 (“If Tenant fails to comply with this notice, Tenant will be served with a summons and complaint
 for unlawful detainer. Unlawful detainer is when a tenant remains in possession of rental property
 after the owner serves you with a lawful notice to vacate, such as this notice. If Tenant is found
 by the court to be in unlawful detainer, Tenant will be evicted by the court …”) (emphasis added).
 The Landlord never commenced an unlawful detainer proceeding or sought a determination that
 Debtor-tenant failed to perform in accordance with the Lease. The Debtors understand, and the
 purported notice to vacate seems to acknowledge, that Utah law would afford the Debtors the
 opportunity to contest the unlawful detainer and/or that the Notice of Termination was lawful. The
 Debtors also believe under Utah law, the Landlord was still required, at the time the bankruptcy
 cases were filed, to bring an action for breach of contract, and that the Landlord could not
 circumvent the state court on that issue and unilaterally terminate all of the Debtors’ rights in the
 Lease.

          Following the Petition Date, the Debtors have remained in possession of the Premises and
 have been operating their business there. The Debtors have paid Rent for each of May, June, and
 July 2023 and the Landlord has accepted the Rent for each these periods. The only amount unpaid
 at this point is the amount returned to the Debtors with the April 13, 2023 letter.

                                              ARGUMENT

         Under §§ 541(b)(2) and 365 of title 11 of the United States Code (the “Bankruptcy Code”),
 a debtor does not have the authority to assume an unexpired nonresidential lease that terminated
 prior to the filing of the bankruptcy petition, and such a lease does not become property of the
 estate. In re C.W. Mining Co., 2009 WL 1118717 (Bankr. D. Ut. April 23, 2009), aff’d C.O.P.
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 Coal Dev. Co. v. C.W. Mining Co., 422 B.R. 746 (B.A.P. 10th Cir. 2010), aff’d C.O.P. Coal Dev.
 Co. v. C.W. Mining Co., 641 F.3d 1325 (10th Cir. 2010). As the bankruptcy court in C.W. Mining
 then observed:

                   “However, the termination must be complete and not subject to
                   reversal, either under the terms of the contract or under state law.”[…]
                   In determining whether an unexpired lease has terminated
                   prepetition, and the extent of a debtor’s interest in property as of the
                   petition date, courts must refer to state law.[…] Consequently, this
                   Court must look to the Agreement and Utah law to make this
                   determination. Under Utah law, the initial review of a contract
                   begins with a court examining the contract itself to ascertain the
                   intent of the parties. […] COP sent the Default Notice to the Debtor
                   (at the earliest) on November 9, 2007 informing the Debtor that it
                   was in default. The Default Notice provided the Debtor with
                   specific actions that the Debtor needed to take to cure that default.
                   Under paragraph 9 of the Agreement, the Debtor had 60 days after
                   the Default Notice was given to cure the defaults or “this Agreement
                   may be terminated and all of the rights of the [Debtor] shall cease
                   and be wholly determined and COP may at once take possession of
                   any or all of the properties herein described.”[…] Sixty days from
                   November 9, 2007 (Friday) was January 8, 2008 (Tuesday). The
                   cure period did not expire until close of business on January 8, 2008.
                   The involuntary petition was filed on January 8, 2008 at 3:36 p.m.
                   prevailing MST. The termination of the Agreement was not
                   complete under its default provision when the involuntary petition
                   was filed. As such, any of the Debtor’s legal or equitable interests
                   in the Agreement became property of the estate under § 541(a).

                                              *       *       *

                   At the time a bankruptcy petition is filed, the estate includes any
                   rights under a contract that a debtor has—no more, no less. Here,
                   the Debtor still had all of the rights afforded to it under the
                   Agreement when the petition was filed because the Agreement had
                   not automatically terminated and any act to prematurely terminate
                   the lease violated the Supplemental Order. As a result, the
                   Agreement and any rights thereunder became property of the estate.

 See C.W. Mining Co., 2009 WL 1118717 at *10-11 (internal citations omitted) (emphasis in
 original).

         In reaching its decision, the bankruptcy judge noted an important element of contract
 interpretation under Utah law, stating that “[o]ur rules of contract interpretation require, [i]f the
 language within the four corners of the contract is unambiguous, that courts first look to the four
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 corners of the agreement to determine the intentions of the parties ... from the plain meaning of the
 contractual language. However, Utah law does not strictly require courts to only view the terms
 of a contract within its four corners, according to their plain meaning, when making the
 determination of whether there is an ambiguity in a contract” (internal citations and quotations
 omitted) (emphasis in original). Id. at *10, n. 22, quoting Gillmor v. Macy, 121 P.3d 57, 69–70
 (Utah App. 2005).

        The bankruptcy court’s decision was affirmed by the B.A.P and then the United States
 Court of Appeals for the Tenth Circuit. In affirming the bankruptcy court, the B.A.P. observed
 and then held as follows:

                   [C]ourts have also distinguished situations in which the contract at
                   issue provides the right to cure and those which do not. […] Although
                   the reasoning of these cases is not always explicit, courts appear to
                   focus on a debtor’s existing contractual right to cure and revive the
                   contract, thus making termination incomplete and giving the debtor
                   a sufficient interest in the contract to assume. […] It follows that if
                   there is an assumable lease under § 365 which is property of the
                   estate, it is subject to the automatic stay provisions of § 362(a).

                   Once a petition is filed, a debtor’s cure rights are controlled by
                   § 365. “Section 365, in conjunction with the automatic stay
                   provision of section 362, accordingly suspends, once the bankruptcy
                   petition is filed, the termination of a lease that is in default; it extends
                   a debtor lessee’s opportunity to cure any defaults until the debtor
                   has the chance to decide whether to assume the lease.” […] The right
                   to cure and assume is independent of any state law or contractual
                   provision. […] Although a debtor’s cure rights under § 365 may seem
                   to interfere with the parties’ contractual rights, “[t]he purpose
                   behind § 365 is to balance the state law contract right of the creditor
                   to receive the benefit of his bargain with the federal law equitable
                   right of the debtor to have an opportunity to reorganize.” […] To hold
                   otherwise would deny the debtor “the benefit of section 365’s
                   ‘suspension of time’ in order to determine whether to assume or
                   reject the lease.” […]

                   Applying these principles in this case, we agree with the bankruptcy
                   court that Debtor had an existing contractual right to cure the Lease
                   at the time the involuntary petition was filed. Termination of the
                   Lease was not complete and it was subject to reversal. As such,
                   Debtor’s retained interest in the Lease became property of the estate,
                   including the right to cure the default. After filing of the petition,
                   Debtor’s cure rights, including the deadline for curing defaults, were
                   controlled by § 365 and not the January 5 & 6 Letters. Debtor’s
                   interest in the Lease came under the protection of the automatic stay.
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                   Thus, even considering the January 5 and January 6 Letters relied
                   on by COP, we conclude that the Lease did not automatically
                   terminate on January 8.

 See C.O.P. Coal Dev. Co., 422 B.R. at 758-59 (internal citations omitted). As noted above, the
 B.A.P. was affirmed by the United States Court of Appeals for the Tenth Circuit. See C.O.P. Coal
 Dev. Co. v. C.W. Mining Co., 641 F.3d 1325 (10th Cir. 2010).

        Here too, the Debtors submit the Lease was not validly terminated pre-petition and the
 Lease was property of the Debtor-tenant’s estate at the time it filed its bankruptcy petition.

          For example, the Landlord alleges in the purported Notice of Termination as follows:

                   Section 5.1.2 (b) of the Lease requires that Tenant resolve any and
                   all questions, request any additional information and pay a
                   reconciliation of its share of Common Area Charges for the
                   immediately preceding calendar year within sixty (60) days
                   following receipt from Landlord of the applicable “CAC
                   Reconciliation Statement” documenting the same. Landlord
                   delivered a CAC Reconciliation Statement for calendar year 2022
                   on January 3, 2023; therefore, the deadline for Tenant to resolve all
                   questions and pay its reconciliation share of Common area Charges
                   was March 4, 2023. However, Tenant failed resolve any questions
                   and pay its reconciliation share on or before such deadline.
                   Landlord then delivered to Tenant a notice of default in connection
                   with such failure, which notice of default was delivered to Tenant
                   on March 6, 2023. A copy of such notice of default, together with
                   the related delivery receipt, is enclosed for reference. Tenant then
                   had had ten (10) days, until March 16, 2023, to cure such default by
                   paying Tenant’s reconciliation share.

         Thus, even accepting the Landlord’s version of the facts, i.e., that the Debtor-tenant was
 required to “resolve all questions and pay its reconciliation share of Common area Charges on
 March 4, 2023” (assuming of course that the Debtors were in possession of all of the necessary
 information as of that date to conclude the CAC Reconciliation Statement was correct and the
 CAM reconciliation charges were due), the Landlord’s issuance of the “Notice of Default” on
 March 2, 2023, two days prior to the purported deadline to pay rendered the Notice of Default
 ineffective, as it was premature. Therefore, despite the contention otherwise in the Notice of
 Default, the Debtor-tenant was not in “default” on March 2, 2023 and the Landlord had no right,
 on March 2, 2023, to demand “the tenant cure their default” on that date. In other words, the
 Notice of Default was premature and, thus, ineffective.

         Moreover, the Debtors dispute that it was without any rights to challenge the CAC
 Reconciliation Statement after March 4, 2023. The Lease provides in relevant part, at Section
 5.1.2(b) as follows:
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                   Upon Tenant’s request, Landlord shall promptly deliver to Tenant
                   copies of relevant backup materials (including, but not limited to,
                   contracts, correspondence and paid invoices) reasonably required by
                   Tenant …

 See Lease at Section 5.1.2(b), lines 63-65.

         While the obligation to pay the CAM reconciliation amount may be keyed off the 60-day
 period following the delivery of the CAC Reconciliation Statement, see Lease at Section 5.1.2(b),
 line 62-63 (“Tenant shall pay to Landlord the deficiency within sixty (60) days after receipt of
 such notice…”), there is no such time limitation for the Tenant to request “copies of relevant
 backup materials (including, but not limited to, contracts, correspondence and paid invoices)”
 despite the Landlord’s contention otherwise.

         Accordingly, the Debtors submit that they were not foreclosed as of March 4, 2023 from
 auditing the CAC Reconciliation Statement as of that date), despite the Landlord’s contention in
 its Notice of Termination to the contrary.

        In that regard, following the delivery of the (ineffective) Notice of Default, the Debtors
 were still within their rights to cure the alleged non-payment and seek copies “copies of relevant
 backup materials (including, but not limited to, contracts, correspondence and paid invoices)”
 during that cure period to determine if the amounts asserted in the CAC Reconciliation Statement
 were valid. The Debtors did just that.

          During the 10-day cure period provided in the Lease (in Section 16.1.1(i)), i.e., before the
 non-payment could constitute an “Event of Default” under the Lease, the Debtors’ representatives
 did, in fact, request “copies of relevant backup materials (including, but not limited to, contracts,
 correspondence and paid invoices).” See Exhibit A. Moreover, the Landlord clearly understood
 that during the applicable cure period, the Debtors were auditing the information provided. The
 Debtors submit that even if the Court were to, arguendo, determine that the Notice of Default was
 effective and enforceable, no Event of Default existed when the Landlord issued the Notice of
 Termination. For example, following Notice of Default, the Debtors efforts to immediately
 confirm the CAC Reconciliation Statement, were efforts to perform or observe the covenants of
 the Lease, preclude a determination that an Event of Default existed under the Lease.

          In that regard, Section 16.1.1(ii) provides as follows:

                   If Tenant shall fail to: … (ii) perform or observe any of the other
                   covenants of this Lease on Tenant’s part to be performed or
                   observed within thirty (30) days after its receipt of notice thereof
                   from Landlord specifying the nature of such default (or, if such
                   default shall be of a nature that same cannot reasonably be cured
                   within thirty (30) days and Tenant does not commence to cure such
                   default on or before such thirtieth (30th) day and thereafter
                   diligently prosecute said cure to completion), such circumstance
                   shall constitute an “Event of Default”.
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       The Debtors took efforts in the thirty (30) day period to audit and confirm the CAC
 Reconciliation Statement and avoid the contention that an Event of Default had occurred.

        Accordingly, because the Notice of Default was premature and ineffective, and because
 the Debtors were still in the process of timely curing any alleged default identified in the Notice
 of Default, no Event of Default occurred and the Landlord was not permitted to issue the Notice
 of Termination, a right that exists under the Lease only after an Event of Default. See Lease at
 Sections 16.1.1. and 16.1.2.(c).

         When examined in its entirety, it is clear the Landlord’s only objective here was to
 repossess its below-market Lease. Even if the Landlord truly believed it had a right to issue the
 Notice of Default, and then issue the Notice of Termination, the deficiencies in its Notices and its
 misreading of its rights under the Lease preclude any determination that the Lease was terminated
 prior to the Petition Date and, as such, the Lease remains property of the Debtors’ estates. The
 Landlord’s manipulated termination should not stand. As a Court of equity, and the recognition
 that equity abhors a forfeiture, this Court should deny the Landlord’s efforts to repossess its
 valuable below market lease for its own benefit and to the substantial detriment of the Debtors’
 estates. As such, the Court should deny the Motion.

                                                  Respectfully submitted,

                                                  /s/ Michael D. Sirota

                                                  Michael D. Sirota


 DMB:
 cc:  David Graff, Esq.
      Darren Neilson, Esq.




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                            EXHIBIT A
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Ramdas Amit

From:                             Leasepayable
To:                               Christine Donvito
Subject:                          FW: Store No 777 Receipt of Delivery of Packet on 1/3/2023


#777

Mid-April 2023

$5,205.97 – 2022 CAM Rec Unaudited

Thank you,
Amit Ramdas Parkar
Real Estate Lease Accounting | Leasepayable@bedbath.com
Bed Bath & Beyond|Harmon|BuyBuyBABY| Bed Bath & Beyond Canada |
650 Liberty Avenue Union, NJ 07083

From: Eileen Higgins <eileen.t.higgins@gmail.com>
Sent: Monday, March 20, 2023 2:37 PM
To: Leasepayable <Leasepayable@bedbath.com>
Cc: Christine Donvito <Christine.Donvito@bedbath.com>; Gregory Cropper <GCropper@parsonsbehle.com>; Savita
Gupta <savita.gupta@consultant.bedbath.com>; michael martin <michaelmartin3@hotmail.com>
Subject: Re: Store No 777 Receipt of Delivery of Packet on 1/3/2023


CAUTION: This email originated from outside your organization. Exercise caution when opening attachments or clicking
links, especially from unknown senders.

Hello to the representatives of consultant and Bed Bath,   EMAIL 1

Attached is the letter sent at the beginning of the to Bed Bath & Beyond for Store #777 and additional documents.

On Mon, Mar 20, 2023 at 11:44 AM Leasepayable <Leasepayable@bedbath.com> wrote:

 Hello Eileen,



 Can you please email us the backup documents? Send us the backup documents in multiple emails, if the files are too
 large.



 Thank you,

 Amit Ramdas Parkar

 Real Estate Lease Accounting | Leasepayable@bedbath.com

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Bed Bath & Beyond|Harmon|BuyBuyBABY| Bed Bath & Beyond Canada |

650 Liberty Avenue Union, NJ 07083




From: Eileen Higgins <eileen.t.higgins@gmail.com>
Sent: Monday, March 13, 2023 9:04 AM
To: Ramdas Amit <Ramdas.Amit@Consultant.Bedbath.com>
Cc: Christine Donvito <Christine.Donvito@bedbath.com>; Gregory Cropper <GCropper@parsonsbehle.com>;
Leasepayable <Leasepayable@bedbath.com>; Savita Gupta <savita.gupta@consultant.bedbath.com>; michael martin
<michaelmartin3@hotmail.com>
Subject: Re: Store No 777 Receipt of Delivery of Packet on 1/3/2023



CAUTION: This email originated from outside your organization. Exercise caution when opening attachments or clicking
links, especially from unknown senders.

Hi Amit,



I sent the Packet by USPS on 12/30/2022 and I have receipt it was received. You also have receipt of it being received
and signed for on 1/3/2023. You now want it again. The only way is for you to Tell me you cannot find it and you lost
it. I have been doing this since 2004 with Bed Bath and Beyond.




If you tell me this, I would only send them to you by email and it is quite a bit of emails on the invoices. You let me
know what you want done.



I sent the roster, I send the insurance invoice as well as requested. Tell me first that my packet is lost at Bed Bath and
Beyond and as a consultant for BBBY you need it again. This is 2-1/2 months later.



Thank you.

Eileen Higgins



On Mon, Mar 13, 2023 at 8:26 AM Ramdas Amit <Ramdas.Amit@consultant.bedbath.com> wrote:

 Dear Landlord,


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Please note that all invoices and inquiries should be forwarded to Leasepayable@bedbath.com




Thank you,

Amit Ramdas Parkar

Real Estate Lease Accounting | Leasepayable@bedbath.com

Bed Bath & Beyond|Harmon|BuyBuyBABY| Bed Bath & Beyond Canada |

650 Liberty Avenue Union, NJ 07083




From: Eileen Higgins eileen.t.higgins@gmail.com
Sent: Sunday, March 12, 2023 10:41 AM
To: Savita Gupta savita.gupta@consultant.bedbath.com; Christine Donvito Christine.Donvito@bedbath.com; Ramdas
Amit Ramdas.Amit@Consultant.Bedbath.com
Subject: Store No 777 Receipt of Delivery of Packet on 1/3/2023



CAUTION: This email originated from outside your organization. Exercise caution when opening attachments or
clicking links, especially from unknown senders.

Hello to Bed Bath Consultants and Employee:



Here is the confirmation of Delivery of the packet with flash drive including invoices sent and received by bed bath on
1/3/3023 and signed for by G Y.



You asked for a roster and insurance invoice and these have been sent.



Please find the packet and complete the cam invoice. It took time doing this report.

Thank you. Eileen Higgins

https://us01.z.antigena.com/l/iULSqbRmiHqy2-
id_ofdYVMGSt6mGCLEkZ9NKvKDY9S~Fp2UZQK~PEhNuVcbJy1KpIml8a4vgj~XU~aQyhj~XWWRaQhjXodH8Z1WtGrrRcw
uKnuuByGlwEJAn32A0IlkztEAeh2IuH2LGiKsmfKyENFK6YcnPR2RKvGe0cRuANtmbH6qmanQxVq3cmJzwpPlS4xMiTxaYk
himnNS2lj


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 --

 Eileen Higgins on behalf of Telegraph
 Landline 803-732-3442
 Cell 803-361-6530




--
Thanks

Eileen T. Higgins,
On behalf of Telegraph Marketplace
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